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 8   Attorneys for Defendant David C. Silver

 9
                                  UNITED STATES DISTRICT COURT
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                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     NANO FOUNDATION, LTD., a New York non-              Case No. 2:19-cv-04237-SVW-PJW
12   profit corporation; and
     COLIN LEMAHIEU, an individual;                      DEFENDANT DAVID C. SILVER’S
13
                                                         REQUEST FOR JUDICIAL NOTICE IN
14                 Plaintiffs,                           SUPPORT OF HIS SPECIAL MOTION TO
                                                         STRIKE COMPLAINT PURSUANT TO
15          v.                                           CAL. CODE CIV. PROC. § 425.16
16   DAVID C. SILVER, an individual;
                                                         Date:       August 5, 2019
17                 Defendant.                            Time:       1:30 p.m.
                                                         Judge:      Hon. Stephen V. Wilson
18                                                       Crtrm:      10A - 10th Floor

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                                      REQUEST FOR JUDICIAL NOTICE
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                                                                       Case No. 2:19-cv-04237-SVW-PJW

                                    REQUEST FOR JUDICIAL NOTICE
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 2   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          Defendant DAVID C. SILVER (“Defendant”) hereby submits this Request for Judicial Notice

 4   in support of his Special Motion to Strike Complaint pursuant to Cal. Code Civ. Proc. §425.16.

 5          The Court may properly take judicial notice of this document, as the Court “may take notice of

 6   proceedings in other courts, both within and without the federal judicial system, if those proceedings

 7   have a direct relation to the matters at issue.” Bias v. Moynihan, 508 F.3d 1212, 1225 (9th Cir. 2007),

 8   quoting Bennett v. Medtronic, Inc., 285 F.3d 801, 803 fn. 2 (9th Cir. 2002). See also, Harris v. County

 9   of Orange, 682 F.3d 1126, 1132 (9th Cir. 2012) (explaining that courts may take judicial notice of

10   “documents on file in federal or state courts”); Committee to Protect our Agricultural Water v.

11   Occidental Oil and Gas Corp., 235 F.Supp.2d 1132, 1152 (E.D. Cal. 2017) (taking judicial notice of

12   the existence of Complaints, and the allegations presented therein, from related lawsuits).

13          Accordingly, Defendant requests that the Court take notice of the following:

14          1.      The First Amended Class Action Complaint filed on July 25, 2019 in the matter styled

15   Fabian v. Nano, et al., U.S. District Court - N.D. Cal. - Case No.: 4-19-cv-00054-YRG (the “Second

16   NANO Lawsuit”), a true and correct copy of which is attached hereto as Exhibit “A”.

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18                                                        Respectfully submitted,
19                                                        By: /s/ Brandon S. Reif
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27                                                        Attorneys for Defendant David C. Silver
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                                     REQUEST FOR JUDICIAL NOTICE
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                                                                  Case No. 2:19-cv-04237-SVW-PJW

                                     CERTIFICATE OF SERVICE
 1

 2           I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the Clerk of
     Court on this 26th day of July 2019 by using the CM/ECF system and that a true and correct copy
 3   will be served via electronic mail to: RYAN M. LAPINE, ESQ. and JOSHUA H. HERR, ESQ.,
     PIERCE ROSENFELD, MEYER & SUSSMAN, LLP, Counsel for Plaintiffs, 232 North Canon Drive, Beverly
 4   Hills, CA 90210-5302; E-mail: RLapine@rmslaw.com; JHerr@rmslaw.com.
 5                                                       /s/ Brandon S. Reif
 6                                                            BRANDON S. REIF

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                                  REQUEST FOR JUDICIAL NOTICE
